This is an appeal from the judgment. The sole contention made is that the holder of a trust deed given to secure a lien upon real property, after exhausting the remedy by sale and finding that a deficiency exists, may not proceed by action to recover the balance due upon the promissory note. This point was directly decided, long before this appeal was taken, against the contention here urged. (Sacramento Bank v. Copsey, 133 Cal. 663, [85 Am. St. Rep. 242, 66 P. 8, 205]; Kraft Co. v. Bryan,140 Cal. 73, [73 P. 745].)
The appeal is without the slightest merit and should not have been taken.
The judgment appealed from is affirmed, and, it appearing that the appeal was made for delay, it is ordered that the respondent have and recover from the appellant the sum of one hundred dollars as damages.
Conrey, P. J., and Shaw, J., concurred. *Page 584 